    Case 16-80724             Doc 19      Filed 06/20/19 Entered 06/20/19 23:30:16                 Desc Imaged
                                         Certificate of Notice Page 1 of 2
Form defdso13

                                      UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois
                                                 Western Division
                                              327 South Church Street
                                                Rockford, IL 61101



In Re:
                                                               Case No. 16−80724
Beverly R. Learn                                               :
520 Pearl St.                                                  Chapter : 13
APT# 205                                                       Judge :   Thomas M. Lynch
Belvidere, IL 61008
SSN: xxx−xx−8775 EIN: N.A.




                         NOTICE TO INDIVIDUAL DEBTORS IN CHAPTER 12/13 CASES
                               OF REQUIRED DOCUMENT FOR DISCHARGE


         In order to receive a Discharge, you must file the following document.

            Debtor's Declaration Domestic Support Obligations.

       Please complete the local form titled Debtor's Declaration Regarding Domestic Support Obligations. If a joint
petition was filed, each spouse must complete and file a separate declaration.

    The local form, Debtor's Declaration Regarding Domestic Support Obligations, is available on our website at
www.ilnb.uscourts.gov/Forms/Form_Orders.cfm
       If you do not file the required document, your case will be closed without a discharge. You will still be liable
for the current balance of the debts you owed before filing. If you subsequently file a Motion to Reopen, you must
pay the reopening fee.

         If you are represented by an attorney, please contact your attorney for guidance.

         If you have any questions about submitting the form, please call 312−408−5000.

                                                              FOR THE COURT



Dated: June 18, 2019                                          Jeffrey P. Allsteadt, Clerk
                                                              United States Bankruptcy Court
          Case 16-80724            Doc 19       Filed 06/20/19 Entered 06/20/19 23:30:16                         Desc Imaged
                                               Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 16-80724-TML
Beverly R. Learn                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-3                  User: cshabez                      Page 1 of 1                          Date Rcvd: Jun 18, 2019
                                      Form ID: defdso13                  Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 20, 2019.
db             +Beverly R. Learn,   520 Pearl St.,   APT# 205,   Belvidere, IL 61008-5264

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 20, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 18, 2019 at the address(es) listed below:
              Jason K Nielson    on behalf of Debtor 1 Beverly R. Learn ndil@geracilaw.com
              Lydia Meyer     ecf@lsm13trustee.com
              Patrick S Layng    USTPRegion11.MD.ECF@usdoj.gov
                                                                                            TOTAL: 3
